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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                NORFOLK DIVISION

 The Coleman Company, Inc.,            )
                                       )
     Plaintiff/Counterclaim Defendant, )
                                       )
 v.                                    ) Civil Action No: 2:20cv351-RGD-RJK
                                       )
 Team Worldwide Corporation,           )
                                       )
     Defendant/Counterclaim Plaintiff  )
                                       )
 and                                   )
                                       )
 Cheng-Chung Wang                      )
                                       )
     Counterclaim Plaintiff            )
 ____________________________________ )

  TEAM WORLDWIDE CORPORATION AND CHENG-CHUNG WANG’S NOTICE OF
     MOTION TO SEAL THEIR OPPOSITION TO PLAINTIFF THE COLEMAN
          COMPANY, INC.’S MOTION FOR SUMMARY JUDGMENT

        PLEASE TAKE NOTICE that Defendant/Counterclaim Plaintiff Team Worldwide

 Corporation and Counterclaim Plaintiff Cheng-Chung Wang (collectively, “TWW”), by counsel,

 in accordance with Local Rule 5 and the Protective Order entered in this case (ECF No. 55)

 (“Protective Order”), have moved the Court for leave to file under seal TWW’s unredacted

 Opposition to Plaintiff The Coleman Company, Inc.’s Motion for Summary Judgment and

 supporting Exhibit B thereto. The grounds in support of TWW’s Motion to Seal are set forth in

 TWW’s non-confidential Memorandum in Support of its Motion to Seal.

        Before the Court may seal court documents, “it must give public notice of the request to

 seal and allow interested parties a reasonable opportunity to object.” Ashcraft v. Conoco, Inc., 218

 F.3d 282, 288 (4th Cir. 2000). In compliance with Local Rule 5 of the Rules of the Eastern District

 of Virginia and Ashcraft, TWW posts the following notice:

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 Interested parties and non-parties may submit memoranda in support of or in opposition to the

 motion within seven (7) days after the filing of the motion to seal and designate all or part of such

 memoranda as confidential. Any information designated as confidential in supporting or opposing

 memoranda will be treated as sealed pending a determination by the Court on the motion to seal.

        This serves as public notice that any person objecting to the motion must file an objection

 with the Clerk within seven (7) days after the filing of the motion to seal and that if no objection

 is filed in a timely manner, the Court may treat the motion as uncontested. Objections to the motion

 should be filed in the Civil Section of the Clerk’s Office. The Notice will be posted for a minimum

 of forty-eight (48) hours.

 Dated: November 5, 2021                               Respectfully submitted,

                                                      By: _/s/ Alexandra M. Gabriel_________
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                                           Attorneys for Team Worldwide Corporation
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                                   CERTIFICATE OF SERVICE
          I hereby certify that I electronically filed the foregoing on November 5, 2021 with the Clerk

 of Court using the CM/ECF system, which will send a notification of such filing to all registered

 users.

                                                By: _/s/ Alexandra M. Gabriel_________
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